Case 0:06-cv-61760-WPD Document 51 Entered on FLSD Docket 05/22/2007 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 06-61760-CIV-DIMITROULEAS

  NESTOR ERMOGENES ARROYO                        Magistrate Judge Seltzer
  QUINTEROS, et al.,

        Plaintiff,

  vs.

  DNYCORP AEROSPACE OPERATIONS
  LLL, a Delaware Corporation, DYNCORP
  TECHSERV LLC, a Delaware Corporation,
  DYNCORP INTERNATIONAL LLC, a
  Delaware Corporation and DYNCORP,
  a Delaware Corporation,

        Defendants
  ___________________________________________/

                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO. 07-60550-CIV-DIMITROULEAS

  PROVINCE OF CARCHI, REPUBLIC
  OF ECUADOR,                                    Magistrate Judge Seltzer

        Plaintiff,

  vs.

  DNYCORP AEROSPACE OPERATIONS
  LLL, a Delaware Corporation, DYNCORP
  TECHSERV LLC, a Delaware Corporation,
  DYNCORP INTERNATIONAL LLC, a
  Delaware Corporation and DYNCORP,
  a Delaware Corporation,

        Defendants
  ___________________________________________/
Case 0:06-cv-61760-WPD Document 51 Entered on FLSD Docket 05/22/2007 Page 2 of 4




                           ORDER CONSOLIDATING THE ACTIONS AND
                           ADMINISTRATIVELY CLOSING CASE NUMBER
                                        07-60550-CIV

           THIS CAUSE is before the Court upon the Defendants’ Unopposed Motions to

  Consolidate [DE 49 in case 06-61760-CIV & DE 4 in case 07-60550]. The Court has carefully

  considered these Motions and is otherwise fully advised in the premises.

           In the above-captioned actions, Plaintiffs have alleged the same operative facts against

  identical Defendants. The Court has previously granted two other Motions to Consolidate in this

  case [DE 24] consolidating Province of Sucumbios v. DnyCorp Int’l LLC, 06–61926 and [DE 40]

  Province of Sucumbios v. DynCorp Int’l LLC, 07-60311 into case number 06-61760. Because all

  of these actions arise out of the same operative facts, the above-captioned actions are hereby

  consolidated into one action (hereinafter, the “Consolidated Action”) for pretrial purposes,1

  pursuant to Rule 42(a) of the Federal Rules of Civil Procedure. This Order shall apply as

  specified to the Consolidated Action and to each case that relates to the same subject matter that

  is subsequently filed in this Court or transferred to this Court and is consolidated with the

  Consolidated Action.

           Every pleading filed in the Consolidated Action shall have the following caption:



                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                                 CASE NO. 06-61760-CIV-DIMITROULEAS

  NESTOR ERMOGENES ARROYO                                                   Magistrate Judge Seltzer


           1
            While the parties agree to consolidate the cases for pretrial purposes, the Plaintiffs at this point do not
  agree to consolidate for the purposes of trial. The Court will address this issue when the time arrives.

                                                             2
Case 0:06-cv-61760-WPD Document 51 Entered on FLSD Docket 05/22/2007 Page 3 of 4




  QUINTEROS, et al.,

        Plaintiff,

  vs.

  DNYCORP AEROSPACE OPERATIONS
  LLL, a Delaware Corporation, DYNCORP
  TECHSERV LLC, a Delaware Corporation,
  DYNCORP INTERNATIONAL LLC, a
  Delaware Corporation and DYNCORP,
  a Delaware Corporation,

        Defendants.
  ___________________________________________/

        Accordingly, it is ORDERED AND ADJUDGED as follows:

        1. The Defendants’ Unopposed Motions to Consolidate [DE 49 in case 06-61760-CIV &

  DE 4 in case 07-60550] are hereby GRANTED;

        2. The cases numbered 06-61760-CIV-DIMITROULEAS, 07-60550-CIV-

  DIMITROULEAS, are hereby consolidated into one action, case number 06-61760-CIV-

  DIMITROULEAS;

        3. The Clerk shall administratively close case number 07-60550-CIV-DIMITROULEAS;

        4. All pending motions in regard to case number 07-60550-CIV-DIMITROULEAS, shall

  be incorporated into case number 06-61760-CIV-DIMITROULEAS.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida, this

  18th day of May, 2007.




                                             3
Case 0:06-cv-61760-WPD Document 51 Entered on FLSD Docket 05/22/2007 Page 4 of 4




  Copies furnished to:
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